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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 HYEWOONG YOON,                                     )
     Plaintiff                                      )     Civil Action No.: 1: 19-cv-10278-PBS
 V.                                                 )
 SEYEON LEE a/k/a SE-YEON LEE a/k/a                 )
 SE YEON LEE a/k/a SE Y. LEE a/k/a                  )
 SE-Y. LEE                                          )
       Defendant                                    )


 HYEWOONG YOON,                                     )
     Plaintiff                                      )     Civil Action No.: 1: 19-cv-l 0280-WGY
 V.                                                 )
 JUHYUNG LEE a/k/a JU-HYUNG LEE                     )
 a/k/a JU HYUNG LEE a/k/a                           )
 JU-H. LEE a/k/a JU H. LEE                          )
         Defendant                                  )


 HYEWOONG YOON,                                     )
     Plaintiff                                      )     Civil Action No.: 1: 19-CV-10281-ADB
 V.                                                 )
 KOREAN BROADCASTING SYSTEM                         )
     Defendant                                      )

       PLAINTIFF'S CERTIFICATION PURSUANT TO LOCAL RULE 16.HD)(3)

       The undersigned affirms that he has consulted with the Plaintiff, Hyewoong Yoon, with a

view to establishing a budget for the costs of conducting the full course and various alternative

courses of the litigation and to consider the resolution of the litigation through the use of

alternative dispute resolution programs such as those outline in Local Rule 16.4.




    ewoong Yoon                                     Bernard D. Posner, Esquire
 June 24, 2019                                      BBO No. 659020
                                                    FURMAN GREGORY DEPTULA
                                                    4 13 1l1 Street, Suite 2
                                                    Boston, MA 02129
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 18, 2019 this document was filed through the ECF system
and was sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF).



                                              /s /Bernard D. Posner

                                              Bernard D. Posner
